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                                    U.S. District Court
                       Southern District of New York (Foley Square)
                     CIVIL DOCKET FOR CASE #: 1:23-cv-05875-JGK

                                    Sweigert v. Goodman et al
                                Assigned to: Judge John G. Koeltl




                                 CERTIFICATE OF SERVICE


Hereby certified that a PDF copy of the ORDER (Memo Endorsement) of 10/23/2023, ECF no.

34, has been sent via electronic mail to on this date to:


Jason Goodman, sole stockholder of MULTIMEDIA SYSTEM DESIGN, INC.


truth@crowdsourcethetruth.org

Certified under penalties of perjury.
Respectfully,      Signed this October 23rd, 2023 (10/23/2023)




                                                                        PRO SE PLAINTIFF
                                                                           D. G. SWEIGERT
                                                              PMB 13339, 514 Americas Way,
                                                                         Box Elder, SD 57719
                                                               Spoliation-notice@mailbox.org




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